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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     DAVID TALCOTT USSERY
 6
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )         No. Cr. S 05-34 LKK
                                     )
12                  Plaintiff,       )         REQUEST TO MODIFY SCHEDULING
                                     )         ORDER; ORDER
13        v.                         )
                                     )         RETROACTIVE CRACK COCAINE
14   DAVID TALCOTT USSERY,           )         REDUCTION CASE
                                     )
15                  Defendant.       )
                                     )
16   _______________________________ )
17           Defendant DAVID TALCOTT USSERY, by and through his attorney,
18   Assistant Federal Defender David M. Porter, hereby requests the Court
19   issue the order lodged herewith modifying the briefing schedule in
20   conjunction with the filing of an amended motion to reduce sentence
21   pursuant to 18 U.S.C. § 3582(c)(2), because of unanticipated
22   difficulties in obtaining the sentencing transcript.             Counsel for
23   plaintiff, Assistant U.S. Attorney Anne E. Pings, graciously indicated
24   /   /    /
25   /   /    /
26   /   /    /
27   /   /    /
28   /   /    /
              Case 2:05-cr-00034-KJM Document 221 Filed 05/08/08 Page 2 of 2


 1   that she has no objection to the proposed schedule.
 2   Dated:     May 6, 2008
 3                                  Respectfully submitted,
 4                                  DANIEL J. BRODERICK
                                    Federal Defender
 5
 6                                    /s/ David M. Porter
                                    DAVID M. PORTER
 7                                  Assistant Federal Defender
 8                                  Attorney for Movant
                                    DAVID TALCOTT USSERY
 9
10                                         O R D E R
11        For the reasons set forth above, and good cause appearing
12   therefor, the Court modifies the briefing schedule as follows:
13        Amended Motion:                 Due June 10, 2008
14        Government Response:            Due June 24, 2008
15        Reply:                          Due July 1, 2008
16        Hearing:                        July 8, 2008 at 9:30AM.
17        IT IS SO ORDERED.
18   Dated: May 8, 2008
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     REQUEST TO MODIFY SCHEDULING ORDER
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